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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    AUBREY J. DEMMINGS,                       Case No. 2:19-cv-00945-RGK (MAA)
  12                       Plaintiff,
  13          v.                                  ORDER ACCEPTING FINDINGS
                                                  AND RECOMMENDATIONS OF
  14
        CDCR et al.,                              UNITED STATES MAGISTRATE
  15                                              JUDGE
                           Defendants.
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  18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Third Amended
  19   Complaint (ECF No. 21), the briefs and documents filed in support of and in
  20   opposition to Defendants’ Motion for Summary Judgment for Failure to Exhaust
  21   Administrative Remedies (“Motion for Summary Judgment,” ECF No. 74), the
  22   other records on file herein, and the Report and Recommendation of United States
  23   Magistrate Judge (ECF No. 104). Further, the time for filing objections has expired
  24   and no objections have been made. The Court accepts the findings and
  25   recommendations of the Magistrate Judge.
  26         IT THEREFORE IS ORDERED that:
  27               1.   The Report and Recommendation of United States Magistrate
  28                    Judge is ACCEPTED; and
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   1            2.    Defendants’ Motion for Summary Judgment is GRANTED;
   2            3.    The Third Amended Complaint is DISMISSED;
   3            4.    Judgment shall be ENTERED dismissing the entire action without
   4                  prejudice.
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   7   DATED: January 12, 2021
                                                   R. GARY KLAUSNER
   8                                          UNITED STATES DISTRICT JUDGE
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